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                                                   UNITED STATES DISTRICT COURT
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                                                 NORTHERN DISTRICT OF CALIFORNIA
               11
                                                           SAN FRANCISCO DIVISION
               12

               13      THOMAS A SHIELDS, MICHAEL C.                       CASE NO. 3:18-cv-07393-JSC
                       ANDREW, and KATINKA HOSSZÚ, on
               14      behalf of themselves and all others similarly      DEFENDANT FÉDÉRATION
                       situated,                                          INTERNATIONALE DE NATATION’S
               15                                                         NOTICE OF MOTION AND MOTION
                                             Plaintiffs,                  TO DISMISS; MEMORANDUM OF
               16                                                         POINTS AND AUTHORITIES IN
                              vs.                                         SUPPORT
               17
                       FÉDÉRATION INTERNATIONALE DE                       Date: April 11, 2019
               18      NATATION,                                          Time: 9:00 AM
                                                                          Place: Courtroom F, 15th Floor
               19                            Defendant.
                                                                         The Honorable Jacqueline Scott Corley
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                                                                               DEFENDANT FÉDÉRATION INTERNATIONALE DE
ATTORNEYS AT LAW
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                   1                         NOTICE OF MOTION AND MOTION TO DISMISS

                   2             PLEASE TAKE NOTICE that on April 11, 2019, at 9:00 a.m. or at such other date as may

                   3   be agreed upon or ordered, in Courtroom F of the United States District Court for the Northern

                   4   District of California, located a 450 Golden Gate Avenue, San Francisco, California, Defendant

                   5   Fédération Internationale de Natation (“FINA”) will and hereby does move this Court to dismiss

                   6   Plaintiffs Thomas A. Shields, Michael C. Andrew, and Katinka Hosszú’s (“Plaintiffs”) Complaint

                   7   (Dkt. 1). This Motion is made pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6),

                   8   and is based on this Notice of Motion, the accompanying Memorandum of Points and Authorities,

                   9   the Declaration of Aaron Chiu in support of the Motion, all pleading and papers filed herein, oral

               10      argument of counsel, and any other matters that the Court may consider on this Motion.

               11                                     STATEMENT OF RELIEF SOUGHT

               12                FINA seeks dismissal with prejudice of all claims asserted by Plaintiffs pursuant to Federal
               13      Rules of Civil Procedure 12(b)(2) and 12(b)(6), on the grounds that:
               14                1.     This Court lacks personal jurisdiction over FINA with respect to all of Plaintiffs’
               15      claims;
               16                2.     Plaintiffs’ antitrust claims are subject to the implied antitrust immunity under the
               17      Ted Stevens Olympic Amateur Sports Act, 36 U.S.C. § 220501 et seq.;
               18                3.     Plaintiffs’ claims are barred by the Foreign Trade Antitrust Improvements Act, 15
               19      U.S.C. § 6a; and
               20                4.     Plaintiffs’ Sherman Act § 1 claim fails to plausibly allege an antitrust conspiracy.

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                   1                        MEMORANDUM OF POINTS AND AUTHORITIES

                   2   I.       INTRODUCTION

                   3            This lawsuit is the class action variant of another case pending before this Court,

                   4   International Swimming League, Ltd. v. Fédération Internationale de Natation, Case No. 3:18-cv-

                   5   07394 JSC (N.D. Cal) (“ISL”). It shares the same lead counsel as the ISL action, and is based on

                   6   the same dispute between International Swimming League (“ISL”), a Swiss corporation, and

                   7   Swiss-based Defendant Fédération Internationale de Natation (“FINA”). The difference between

                   8   the two cases is that, here, ISL’s complaints are filtered through Plaintiffs Thomas A. Shields,

                   9   Michael C. Andrew, and Katinka Hosszú (“Plaintiffs”) on behalf of a putative class of top-tier

               10      international swimmers.

               11               Like ISL, Plaintiffs challenge as anticompetitive the monolithic structure implemented by

               12      the International Olympic Committee (“IOC”) under which FINA governs international swimming

               13      competition, and in particular Olympic swimming, claiming that FINA has leveraged its control

               14      over Olympic swimming to suppress competition in a global market for top-tier international non-

               15      Olympic swimming competitions. The principal way through which FINA allegedly has leveraged

               16      its power is by coercing its 209 national member federations—all of which exist to promote the

               17      development of the sport of swimming and the participation of athletes from their home countries

               18      in international competition, including in the Olympic Games—to boycott ISL’s attempts to create

               19      a series of international top-tier swimming events. As it relates to Plaintiffs, the alleged boycott

               20      of ISL supposedly prevented a putative class of swimmers from earning what they otherwise would

               21      in a competitive market for international swimming. On this theory, Plaintiffs advance the same

               22      three causes of action that ISL asserts against FINA: one claim under each Sections 1 and 2 of the

               23      Sherman Act, and a state law claim for tortious interference.

               24               Because this is a copycat class action that rests on an identical theory of anticompetitive

               25      harm, the same underlying alleged conduct, and the same causes of action as ISL’s case against

               26      FINA, all of the bases underlying FINA’s motion to dismiss in the ISL case apply here. Of

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                   1   necessity, we reassert and explain all of the bases for dismissal here;1 however, we focus this

                   2   Motion on the variations between the two cases, all of which are derived from ISL’s choice to

                   3   recruit certain U.S.-domiciled swimmers to act as plaintiffs in a second case. The presence of

                   4   these plaintiffs does not solve the underlying deficiencies that plague ISL’s Complaint, and

                   5   therefore dismissal of this copycat putative class action is warranted as well.

                   6           The foundational flaw is jurisdictional: Plaintiffs’ case is premised entirely upon a dispute

                   7   between two foreign parties (ISL and FINA) that rests on FINA’s alleged conduct globally. As in

                   8   the ISL action, it is an attack on FINA’s position as the global arbiter of international and Olympic

                   9   swimming, and FINA’s implementation of rules and decisions that equally affect all of its 209

               10      different national member federations. The United States and U.S.-based swimmers are implicated

               11      because they are part of the international swimming world, not because they play any kind of

               12      special role in the underlying dispute. Indeed, the Complaint explicitly alleges that all top-tier

               13      international swimmers, of whatever nationality, are similarly situated. And in that context,

               14      Plaintiffs’ “jurisdictional” allegations fail to establish that FINA systematically or continuously

               15      operates in the U.S., or that FINA purposefully directed any conduct at the U.S. or American

               16      swimmers.

               17              The substantive fallacies underlying ISL’s case also pervade this action. Any alleged

               18      conduct by FINA that impacted swimming in the U.S.—and Plaintiffs Shields and Andrews in

               19      particular—is protected from antitrust scrutiny under the Ted Stevens Olympic Amateur Sports

               20      Act (“ASA”), 36 U.S.C. § 22050, et seq. Indeed, the presence of American swimmer plaintiffs

               21      only underscores how any U.S.-based effects of FINA’s conduct were, as Plaintiffs allege, the

               22      result of the decision of USA Swimming (the FINA-affiliated national governing body for

               23      swimming in the U.S.) to withdraw its support for ISL. The actions of USA Swimming,

               24      undertaken in compliance with FINA’s rules and affecting the ability of Shields, Andrews, and

               25      any other U.S. swimmer to participate in international competition, are precisely the type of

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                         There is significant authority disapproving of motions to dismiss that simply incorporate by
               28      reference like motions in separate cases.
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                                                                                      DEFENDANT FÉDÉRATION INTERNATIONALE DE
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                   1   conduct the ASA impliedly immunizes from antitrust scrutiny. See Gold Medal LLC v. USA Track

                   2   & Field, 899 F.3d 712, 718 (9th Cir. 2018).

                   3           Any effects of FINA’s alleged conduct on U.S.-based swimmers also do nothing to lift the

                   4   bar on Plaintiffs’ antitrust claims imposed by the Foreign Trade Antitrust Improvements Act

                   5   (“FTAIA”), 15 U.S.C. § 6a. Plaintiffs have not alleged that FINA’s conduct exhibited the requisite

                   6   “direct” effect on U.S. commerce, nor could they. They plainly advance an indirect effect that

                   7   starts with what FINA did outside the U.S., then flows through the actions of USA Swimming in

                   8   compliance with FINA’s rules, and only then affects U.S.-based swimmers. Furthermore, any

                   9   U.S. domestic effects do not “give rise” to a Sherman Act claim, as the FTAIA requires,

               10      particularly since the allegedly restrictive conduct in the U.S. (by USA Swimming, not FINA) is

               11      impliedly immunized under the ASA. The Sherman Act does not apply to such disputes, regardless

               12      of the fact that ripple effects may extend to plaintiffs who reside in the U.S.

               13              Finally, Plaintiffs’ Sherman Act § 1 claim, which is premised on identical allegations of

               14      “concerted action” between FINA and its member federations to boycott ISL, fails at the threshold

               15      because FINA and its members share a unity of economic interest. As Plaintiffs themselves allege,

               16      the Olympics are the “sole reason” for the existence of FINA and its member federations.

               17      Accordingly, they are not independent economic actors capable of conspiring to violate Section 1.

               18      See Jack Russell Terrier Network of N. Cal. v. Am. Kennel Club, Inc., 407 F.3d 1027, 1036 (9th

               19      Cir. 2005).

               20              For these reasons, this Court should dismiss Plaintiffs’ Complaint with prejudice.2

               21      II.     BACKGROUND

               22              A.     The Parties

               23              Plaintiffs Shields, Andrew, and Hosszú are professional swimmers who represent a

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               25        Plaintiffs’ claims here are also subject to arbitration, pursuant to various arbitration provisions
                       relating to disputes involving FINA and the respective NGBs. FINA has not moved to compel
               26      arbitration because this Court must first decide whether it has jurisdiction. See Unlimited Prepaid,
                       Inc. v. Airvoice Wireless Express, LLC, No. CV 17-01409 SJO (JPRx), 2017 WL 8230848, *5
               27      (C.D. Cal. May 10, 2017) (personal jurisdiction over the defendant is required to compel
                       arbitration). However, FINA fully intends to move to compel arbitration should it become
               28      necessary following the Court’s resolution of this Rule 12(b)(2) motion.
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                   1   putative class of swimmers from around the globe who compete at swimming’s highest stages or

                   2   perform at the highest levels of competition. Compl. ¶ 22–25. Shields and Andrew are domiciled

                   3   in California and Hosszú is a resident of Hungary. Id. ¶ 22–24. Defendant FINA is a non-

                   4   governmental international organization domiciled in Switzerland, established in the form of an

                   5   “association” in accordance with and governed by the Swiss Civil Code. Id. ¶ 27. It is the

                   6   international federation exclusively recognized by the International Olympic Committee (also

                   7   based in Switzerland) to “administer [aquatic] sports and establish and organize the types of and

                   8   rules of competition held at the Olympic Games.” Id. ¶ 31. FINA is comprised of 209 member

                   9   federations with national groups representing the various aquatic sports including swimming,

               10      diving, and water polo. Id. ¶ 30.

               11               B.     The Core Allegations Underlying Plaintiffs’ Claims

               12               The operative facts alleged in Plaintiffs’ Complaint are identical, in near verbatim fashion,

               13      to those alleged by ISL. See generally, Complaint, ISL v. FINA, No. 3:18-cv-07394-JSC, ECF No.

               14      1 (Dec. 7, 2018).3 The gravamen of both complaints is that FINA, through “its control over access

               15      to competition in the Olympic Games” and “power over the swimming world,” (Compl. ¶ 5), has
               16      “unlawfully wielded [that] dominant influence” to preclude organizations like ISL from
               17      establishing and promoting “top-tier international swimming competitions,” (id. ¶ 3), which
               18      “prevent[s] swimmers from effectively selling their services to entities other than FINA or those
               19      that FINA explicitly approves” (id. ¶ 7). Plaintiffs also take square aim at the structure of
               20      worldwide Olympic swimming that FINA institutes and administers pursuant to the exclusive

               21      authority recognized by the IOC. Plaintiffs allege that FINA’s interpretation and implementation

               22      of its own rules governing international competition—and the threat of sanctions for non-

               23      compliance—have effectively coerced its 209 member federations into boycotting ISL’s attempts

               24      to establish a non-Olympic, top-tier international swimming league, resulting in the alleged

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                         For the record, Plaintiffs’ claims are moot as a result of an interpretation of the disputed
               26      “unauthorised relations” rule that FINA issued on January 15, 2019, after this case was filed, which
                       among other things states that swimmers such as Plaintiffs who participate in competitions or
               27      events staged by independent organizers such as ISL will not be found to have violated that rule.
                       Given the Rule 12(b)(6) posture of this motion, we ignore that development and assume the truth
               28      of all well-pleaded facts.
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                   1   “unlawful restraint of the ability of the athletes … to earn what they would command in a market

                   2   free of FINA’s iron grip.” Id. ¶¶ 3, 7.

                   3          On the basis of ISL’s theory, Plaintiffs assert three identical causes of action: (1) a

                   4   violation of Section 1 of the Sherman Act, on the basis of a “FINA-compelled agreement” between

                   5   FINA and its member federations to boycott ISL and restrain the “supply of labor from the world’s

                   6   best swimmers” (id. ¶¶ 141–142); (2) a violation of Section 2 of the Sherman Act, stemming from

                   7   an alleged FINA “monopoly in the market for top-tier international swimming competitions” and

                   8   “monopsony in the market for the supply of services of top-tier swimmers” (id. ¶ 150); and (3) a

                   9   state law claim for tortious interference (id. ¶¶ 155–160). Plaintiffs claim that the relevant

               10      geographic markets for its antitrust claims are “the entire world.” Id. ¶¶ 108, 121. The claims

               11      arise from an alleged course of conduct by FINA to thwart ISL’s plans to create an international,

               12      club-based swimming league for the world’s best swimmers that would provide such swimmers

               13      with additional opportunities to “compete against each other and for increased pay for their

               14      services.” Id. ¶¶ 3–5. The relevant and operative allegations relating to FINA’s allegedly

               15      anticompetitive conduct are as follows:

               16             Beginning in September 2017, representatives for ISL’s predecessor and FINA engaged in

               17      negotiations regarding the potential for ISL to “organize international events featuring top-tier

               18      swimmers organized by teams that would compete in short course events.” Id. ¶ 62. After those

               19      negotiations broke down, ISL sought to obtain the support of FINA’s member federations to host

               20      an international ISL-sponsored swim event to take place in December 2018. Id. ¶ 66. In June

               21      2018, FINA contacted all 209 of its member federations informing them that ISL was neither

               22      recognized by nor affiliated with FINA. Id. ¶ 67. FINA also allegedly threatened to “sanction

               23      anyone who violated [its] rule on unauthorized relations.” Id. Subsequently, certain member

               24      federations like USA Swimming and British Swimming indicated to ISL that they could not

               25      support ISL’s planned December 2018 competition absent FINA authorization. Id. ¶¶ 68–69.

               26             After renewed discussions between FINA and ISL regarding this December 2018 event

               27      broke down (id. ¶ 70–72), ISL subsequently turned to the Italian Swimming Federation for

               28      assistance in coordinating the December event, and the Italian federation notified FINA of its
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                   1   intention to host the event in Turin in two months’ time. Id. ¶ 74–75. This notice did not provide

                   2   sufficient time for FINA approval under its bylaws, and so FINA did not approve the Turin event.

                   3   Id. ¶¶ 76, 78, 82. FINA thereafter notified its member federations that neither ISL nor the Turin

                   4   Event were recognized or authorized by FINA, and any participating swimmers or member nations

                   5   would be subject to the consequences of violating FINA rules for their participation in that

                   6   competition.4 Id. ¶¶ 78, 80, 82, 90. Those members in turn notified their individual swimmers

                   7   and warned them of the potential consequences for competing in the Turin Event, including

                   8   possible suspensions by their member federations. Id. ¶¶ 89–92.

                   9            On November 15, 2018, the Italian Swimming Federation canceled the Turin Event. Id.

               10      ¶ 97. Shortly thereafter, Plaintiffs filed this action on December 7, 2018. Identical to ISL,

               11      Plaintiffs expressly allege that it is this course of conduct—and particularly FINA’s “successful

               12      measures to scuttle the Turin Event”—that gives rise to this lawsuit. Compl. ¶ 26.

               13               C.     Plaintiffs’ Jurisdictional Allegations

               14               While Plaintiffs meticulously allege a course of conduct by FINA aimed at thwarting ISL’s

               15      efforts to “enter and expand the market for the type of [international swimming] competitions that

               16      draw Plaintiffs [] to enter and compete,” (id. ¶ 26), their Complaint, like ISL’s, is conspicuously

               17      thin on allegations as to how any of that alleged conduct bears any real connection to the United

               18      States. Plaintiffs’ Complaint largely reprises the same “jurisdictional” allegations in an effort to

               19      create some connection between FINA’s alleged conduct and this forum—none of which relate to

               20      conduct by FINA that matters to Plaintiffs’ claims. The first is the allegation that FINA’s “contacts

               21      with the United States are deep and wide,” (id. ¶ 19), because FINA apparently “regularly

               22      organizes major international aquatics competitions in the United States,” (id.). But the four U.S.-

               23      based FINA-sanctioned aquatic events identified were only a handful of the 151 total FINA-

               24      sanctioned events held worldwide since 2017. The second batch of allegations are those that

               25
                       4
               26        FINA hereby attaches the relevant IOC and FINA rules at issue in this case. See Decl. of A. Chiu
                       in Supp. of Mot. to Dismiss (“Chiu Decl.”), Exs. A and B. These rules are incorporated by
               27      reference in the Complaint and are therefore subject to judicial notice on this motion to dismiss.
                       See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); Haynish v. Bank of
               28      America, N.A., 284 F. Supp. 3d 1037, 1044–45 (N.D. Cal. 2018).
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                   1   selectively highlight the purported effects of FINA’s alleged conduct on USA Swimming—the

                   2   national governing body for one of the 209 member federations that were alleged to have been on

                   3   the receiving end of FINA’s various communications and “threats” related to ISL. The Complaint

                   4   calls out how USA Swimming “pulled out of negotiations” for potentially hosting an ISL event in

                   5   Las Vegas or at the University of Southern California. Id. ¶ 8. But the Complaint likewise

                   6   identifies similar responses by numerous other member federations to FINA’s conduct. See id. ¶¶

                   7   9, 68 (alleging FINA interference with ISL’s efforts to host event with British Swimming), ¶¶ 10–

                   8   11, 74–97 (alleging FINA interference caused ISL to cancel top-tier international swimming

                   9   competition in Turin, Italy), and ¶¶ 90–91 (alleging the Russian Olympic Committee and Swiss

               10      Swimming Federation contacted their swimmers to dissuade them from participating in the Turin

               11      Event). Plaintiffs’ proposed class further highlights the international nature of this dispute: the

               12      class is not limited to swimmers from the U.S. but encompass “all natural persons who are eligible

               13      to compete in swimming world championship and Olympic Game competitions,” including

               14      “hundreds” of swimmers “residing in multiple countries.” Id. ¶ 129–130. The last batch of

               15      “jurisdictional” allegations are made on “information and belief”: FINA has registered U.S.

               16      trademarks and allegedly directed an “agent” to submit a DMCA take-down notice to have three

               17      ISL promotional videos removed from the YouTube channel belonging to the swimming news

               18      website “SwimSwam.” Id. ¶¶ 20, 73.

               19             The only differences here are the allegations that FINA “controlled the conduct” of U.S.

               20      swimmers who compete in FINA-sanctioned events, and “directly threatened its swimming

               21      federation members and swimmers, including those in the United States, with sanctions” if they

               22      coordinated with ISL or participated in ISL events. Id. ¶ 19. But these allegations are not about

               23      U.S. or U.S.-directed conduct by FINA; rather, they are about how USA Swimming, the relevant

               24      the NGB governing swimming in the U.S., reacted to what FINA did outside the U.S. See id. ¶ 92

               25      (USA Swimming informing swimmers that it would comply with FINA directives and punish

               26      swimmers participating in the Turin Event). And consistent with the common theory of the case,

               27      the actual alleged conduct by FINA was similarly directed at all other member federations (and

               28      their respective swimmers) looking to participate in ISL events. See id. ¶ 84 (describing alleged
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                   1   conversation in Beijing, China where FINA’s executive director warned Hungarian Plaintiff

                   2   Hosszú against participating in ISL events).

                   3   III.    ARGUMENT

                   4           All of the jurisdictional and substantive deficiencies that pervade ISL’s case doom this case

                   5   as well.

                   6           A.      This Court Lacks Personal Jurisdiction over FINA

                   7           The personal jurisdiction analysis is fundamentally identical. The Court lacks jurisdiction

                   8   over FINA because (a) FINA inarguably lacks the continuous and systematic general business

                   9   contacts requires for general jurisdiction, and (b) the theory of this case has nothing to do with any

               10      conduct by FINA directed at the United States in particular, and therefore will not support specific

               11      jurisdiction.

               12              The mere presence of U.S.-based plaintiffs in this action is inconsequential. The key

               13      inquiry is whether there are sufficient contacts between the defendant and the forum state to justify

               14      an exercise of jurisdiction over that defendant. See Schwarzenegger v. Fred Martin Motor Co.,

               15      374 F.3d 797, 800–01 (9th Cir. 2004). Due process requires that the defendant have “certain

               16      minimum contacts [with the forum] such that the maintenance of the suit does not offend

               17      ‘traditional notions of fair play and substantial justice.’” Int’l Shoe Co. v. Washington, 326 U.S.

               18      310, 316 (1945) (citations omitted). The relevant issue, therefore, is the nature of FINA’s alleged

               19      contacts.

               20                      1.     Plaintiffs Have Not Alleged a Basis for General Personal Jurisdiction

               21              General personal jurisdiction requires that a defendant “engage in continuous and

               22      systematic general business contacts that approximate physical presence in the forum state.”

               23      Schwarzenegger, 374 F.3d at 801 (citation omitted). As is the case in with ISL’s complaint,

               24      Plaintiffs conclude that FINA’s contacts with this country “are deep and wide,” (Compl. ¶ 19), but

               25      the factual allegations regarding FINA’s contacts establish otherwise. The “contacts” are limited

               26      to FINA’s sanctioning of four (non-swimming) tournaments in the U.S. over the last two years; its

               27      registered trademarks with the USPTO; the filing of a DMCA take-down with YouTube, which

               28      has servers in California; and its agreements with two American swimwear manufacturers. Id.
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                   1   ¶ 19. None of these amount to the kind of “continuous and systematic general business contacts”

                   2   needed to invoke general personal jurisdiction. Schwarzenegger, 374 F.3d at 801.

                   3            The event-based jurisdiction that Plaintiffs seek to construct from the FINA-sanctioned

                   4   aquatic events held in this country has been rejected consistently as an insufficient basis to confer

                   5   general personal jurisdiction. See Standard v. Cameron, No. 1:17-CV-689 AWI BAM, 2017 WL

                   6   5466718, at *6 (E.D. Cal. Nov. 14, 2017) (defendant’s “regular[] hold[ing]” of teaching clinics in

                   7   California and attendance at other events in the state were insufficient to establish personal general

                   8   jurisdiction); Am. Univ. Sys., Inc. v. Am. Univ., 858 F. Supp. 2d 705, 713–14 (N.D. Tex. 2012)

                   9   (sponsoring 18 events and attendance at 200 events in Texas by an out-of-state university

               10      insufficient to “allow [the] exercise [of] general personal jurisdiction.”). Particularly when

               11      “apprais[ed] . . . in their entirety, nationwide and worldwide,” Daimler AG v. Bauman, 571 U.S.

               12      117, 139 n.20 (2014), the de minimus nature of FINA’s U.S. contacts becomes clear. The U.S. is

               13      just one of many countries in which FINA sanctions events. In the first two months of 2019 alone,

               14      there were FINA-sanctioned events in 12 other countries.5 The four U.S.-based events sanctioned

               15      by FINA over the past two years do not constitute the “continuous and systematic” affiliation with
               16      the U.S. that makes it fair to conclude that FINA is “at home” here. Id. at 127. The other alleged
               17      “contacts”—FINA’s trademarks, the YouTube take-down notice, and FINA’s business with
               18      California-based swimwear companies—all fail to “approximate [a] physical presence in the
               19      forum state.” Schwarzenegger, 374 F.3d at 801; see also Helicopteros Nacionales de Colombia,
               20      S.A. v. Hall, 466 U.S. 408, 416–17 (1984). These are not enough to support the “exceptional case”

               21      of exercising general jurisdiction outside of a defendant’s principal place of business. Martinez v.

               22      Aero Caribbean, 764 F.3d 1062, 1070 (9th Cir. 2014).

               23                       2.     Plaintiffs Have Not Alleged and Cannot Allege the Requisite Contacts
                                               to Support Specific Personal Jurisdiction
               24
                                Plaintiffs have likewise failed to plead specific jurisdiction, which requires allegations that:
               25
                       (1) FINA “purposefully availed” itself of the privilege conducting activities in the U.S. or
               26
                       “purposefully directed” its activities at the U.S., (2) Plaintiffs’ claims arise out of or relate to those
               27
                       5
               28          See FINA Calendar, www.fina.org/calendar (last accessed Feb. 14, 2019 at 12:40 p.m.).
                                                                            9
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                   1   activities, and (3) assertion of personal jurisdiction is reasonable and fair. Schwarzenegger, 374

                   2   F.3d at 802–03. For claims grounded in intentional torts like the antitrust claims here, the

                   3   “purposeful direction” test is used. See In re W. States Wholesale Nat. Gas Antitrust Litig., 715

                   4   F.3d 716, 743 (9th Cir. 2013) (applying purposeful direction test to antitrust claims).

                   5
                                        a.      Plaintiffs Have Not Alleged that FINA Purposefully Directed Conduct at
                   6                            the United States

                   7             While this case differs from the ISL action in that two of the named Plaintiffs are domiciled

                   8   in the U.S., there are still no allegations that FINA purposefully directed its conduct at the U.S.

                   9   The question of whether a defendant has purposefully directed its conduct at the forum state is

               10      evaluated under the three-part “effects” test set forth in Calder v. Jones, 465 U.S. 783 (1984). The

               11      defendant must have “(1) committed an intentional act, (2) expressly aimed at the forum state,

               12      (3) causing harm that the defendant knows is likely to be suffered in the forum state.”

               13      Schwarzenegger, 374 F.3d at 803 (citing Calder, 465 U.S. at 789–91). The relevant inquiry

               14      underlying the “purposeful direction” test is whether the “defendant’s actions connect him to the

               15      forum,” not merely to residents of the forum. Walden v. Fiore, 571 U.S. 277, 289 (2014) (emphasis

               16      added).

               17                Here, the claim is about a global restraint of trade that allegedly harms top international

               18      swimmers of all nationalities. The Complaint rests on actions undertaken by FINA with respect

               19      to all 209 of its member federations and their swimmers, by which FINA supposedly monopolized

               20      and “lorded” its power over the global “swimming world.” Id. ¶ 5. The group of injured

               21      swimmers—allegedly similar enough to justify a class action—includes American swimmers

               22      along with British swimmers, Australian swimmers, Hungarian swimmers, and so forth. That is

               23      not a claim about conduct by FINA expressly aimed at the U.S.—the requirement to connect FINA

               24      to this forum. See Schwarzenegger, 374 F.3d at 802. The actual allegations of conduct by FINA

               25      make this clear:

               26

               27

               28
                                                                           10
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                   1
                        Conduct:                                                                        Directed At:
                   2
                        • “[O]n or about June 5, 2018, FINA’s Mr. Marculescu circulated a letter All FINA members
                   3      to every FINA member designed to cripple ISL’s plans.” Compl. ¶ 67. (Global)

                   4    • In response to ISL’s notification to FINA that it “would work through ISL (Switzerland)
                          a federation partner and seek FINA approval for the competition,” (id.
                   5      ¶ 70), “FINA responded . . . in a letter . . . [that] insisted that Mr. Khan’s
                          direct request was invalid; the host federation was required to seek
                   6      FINA approval ‘for any international event that they intended to
                          organize.’” Id. ¶ 71.
                   7
                        • After ISL notified FINA of its plans to host the Turin Event, “FINA Italy
                   8      insisted at the last minute that its approval was nevertheless necessary,
                          knowing that its last-minute demand would make it impossible for ISL
                   9      to give six months’ notice and would therefore allow FINA to threaten
                          athletes.” Id. ¶ 78.
               10
                        • “[O]n October 30, . . . FINA’s Mr. Marculescu circulated a letter to all All FINA members
               11         FINA members, notifying them that the Turin Event ‘[was] not (Global)
                          recognised by FINA.’” Id. ¶ 80. “[H]e warned the dozens of
               12         swimmers who had entered contracts to appear in the Turin Event that
                          ‘FINA will further assess the development of this matter and will
               13         consider consequences.’” Id.

               14       • During the FINA World Cup series in Beijing in November 2018, Mr. China
                          Marculescu “warned” Katinka Hosszú’s coach that if she “insisted on
               15         participating in ISL’s event, she would be banned from competing in
                          the upcoming FINA World Swimming Championships.” Id. ¶ 84.
               16
                              Like ISL’s complaint, the only conduct that Plaintiffs allege that FINA aimed at a particular
               17
                       locale concerns the Turin Event in Italy and the World Cup event in Beijing, China.
               18
                              The presence of American swimmers in this lawsuit and allegations about the effect of
               19
                       FINA’s conduct on them are also insufficient to establish that FINA engaged in any forum-related
               20
                       activity giving rise to Plaintiffs’ claims. None of these allegations have to do with the conduct by
               21
                       FINA that gives rise to Plaintiffs’ claims. They are just selective highlights of the purported U.S.-
               22
                       based effects of that conduct. For example:
               23
                          •   After USA Swimming received the letter that FINA “circulated to every FINA member
               24             designed to cripple ISL’s plans,” (id. ¶ 67), it “notified ISL . . . that it could not help ISL
                              organize any competition until it received ‘assurance . . . that FINA is on board,’” (id. ¶ 68).
               25             Consequently, “USA Swimming pulled out of negotiations [with ISL] for hosting the
                              December 2018 competition” in either Las Vegas or at the University of Southern
               26             California. Id. ¶ 8; see also id. ¶ 64.

               27         •   Following FINA’s notification to “all FINA members” that the Turin Event was
                              unauthorized, “USA Swimming representatives held a conference call with national team
               28             members.” Id. ¶ 92. “Reluctantly, [USA Swimming] informed the swimmers that it would
                                                                         11
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                   1            have no choice but to comply with any FINA directive to punish swimmers who
                                participated in the . . . Turin Event.” Id.
                   2

                   3   These U.S. portions of allegedly worldwide effects are not enough to establish purposeful direction

                   4   to this forum.     Indeed, Plaintiffs similarly allege that numerous other member federations

                   5   throughout world reacted similarly to FINA’s conduct. See id. ¶ 9 (“British Swimming [likewise]

                   6   folded under pressure from FINA to stop coordinating with ISL”); ¶¶ 90–91 (describing Russian

                   7   and Swiss efforts to reach out and warn their swimmers about possible sanctions stemming from

                   8   participation in ISL events). Absent a connection to conduct by FINA expressly aimed at this

                   9   forum, Plaintiffs’ selective allegations of U.S.-based effects fail to establish that FINA

               10      purposefully directed its conduct at this forum. See Schwarzenegger, 374 F.3d at 807 (while the

               11      plaintiff made out a “prima facie case that [the defendant] committed intentional acts that may

               12      have caused harm to [him] in California,” he failed the Calder effects test absent a prima facie

               13      showing that the defendant “expressly aimed its acts at California”).6

               14                              b.      Plaintiffs’ Claims Do Not Arise from FINA’s Contacts with the
                                                       Forum
               15
                                Specific jurisdiction also requires that Plaintiffs adequately plead that their claims arise out
               16
                       of FINA’s U.S.-directed activity. “[A] lawsuit arises out of a defendant’s contacts with the forum
               17
                       state if a direct nexus exists between those contacts and the cause of action.” Fireman’s Fund Ins.
               18
                       Co. v. Nat’l Bank of Cooperatives, 103 F.3d 888, 894 (9th Cir. 1996). This second prong of the
               19
                       analysis is effectively a “but for” test; there must be pleaded facts tending to show that Plaintiffs
               20
                       would not have suffered their alleged injuries “but for” FINA’s forum-related activity. Id. at 895.
               21
                                Plaintiffs’ claims, identical to ISL’s, involve an alleged global restraint of trade, and they
               22
                       stem immediately from “[FINA]’s successful measures to scuttle the Turin Event”—in Italy—and
               23
                       “FINA’s ongoing effort to prevent ISL from organizing and promoting its 2019 competitions.”
               24

               25
                       6
                        Plaintiffs’ proposed class concedes that FINA’s conduct was not expressly aimed at the United
               26      States, as it includes “[a]ll natural persons who are eligible to compete in swimming world
                       championship and Olympic Game competitions,” which could include “hundreds of members”
               27      who “reside[] in multiple countries.” Compl. ¶¶ 129–130. This confirms the indiscriminate,
                       worldwide, effect of FINA’s alleged actions and that FINA’s alleged harmful conduct was not
               28      expressly directed at the United States.
                                                                           12
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                   1   Compl. ¶ 26. None of that depends on the minimal U.S. conduct actually alleged in the Complaint,

                   2   or the fact that some U.S.-based swimmers (and not a Swiss corporation like ISL) are the plaintiffs

                   3   asserting the claims here.

                   4                          c.      Exercising Jurisdiction Over FINA Would Be Unreasonable
                   5          Because Plaintiffs have failed to meet their prima facie burden of alleging the requisite
                   6   purposeful direction and direct nexus between FINA’s forum-related activity and the causes of
                   7   action, this Court need not wade into a multi-factor analysis to conclude that the exercise of
                   8   personal jurisdiction would be unreasonable. See Pebble Beach Co. v. Caddy, 453 F.3d 1151,
                   9   1155 (9th Cir. 2006) (where plaintiffs’ failed its burden of establishing purposeful direction, the
               10      court “need not address whether the claim arose out of . . . [the defendant’s] forum related activities
               11      or whether an exercise of jurisdiction is reasonable”); Schwarzenegger, 374 F.3d at 807 n.1
               12      (concluding that there was no need to reach the [reasonableness inquiry] when the plaintiff failed
               13      the second part of the specific jurisdiction test). In any event, the requisite factors would weigh
               14      heavily against jurisdiction. Forcing foreign defendants to “defend [itself] in a foreign legal
               15      system” is enough of a burden to decline jurisdiction as unreasonable, not to mention inefficient
               16      and wholly impractical. Harris Ritsky, 328 F.3d at 1133. Because FINA is domiciled in
               17      Switzerland, having to defend this action in a forum 5,000 miles away where FINA has no physical
               18      presence would be a significant burden.
               19             Further, and more importantly, exercising personal jurisdiction over an entity organized
               20      under the laws of a foreign country—here, Switzerland—raises substantial sovereignty concerns.
               21      See id. at 1133 (“Litigation against an alien defendant creates a higher jurisdictional barrier than
               22      litigation against a citizen from a sister state because important sovereignty concerns exist.”
               23      (citations omitted)). As the Supreme Court has explained, “great care and reserve should be
               24      exercised when extending . . . notions of personal jurisdiction into the international field.” Asashi
               25

               26

               27

               28
                                                                          13
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                   1   Metal Indus. Co., Ltd. v. Superior Ct. of Cal., 480 U.S. 102, 115 (1987) (citation omitted). Comity

                   2   weighs against doing so here.7 See Schwarzenegger, 374 F.3d at 801–02.

                   3                                              *        *      *

                   4            Like ISL’s complaint against FINA, Plaintiffs cannot and have not pled the prerequisites

                   5   for this Court to exercise jurisdiction over FINA. This copycat class action also must be dismissed

                   6   with prejudice for lack of personal jurisdiction.

                   7
                                B.     The Amateur Sports Act Immunizes from Antitrust Scrutiny the Alleged
                   8                   Conduct by FINA that Impacted Swimming in the United States

                   9            Notwithstanding Plaintiffs’ inability to plead the necessary jurisdictional prerequisites, the

               10      alleged conduct of FINA exhibiting any U.S.-based effects on U.S. swimmers would be

               11      immunized from antitrust scrutiny under the Ted Stevens Olympic Amateur Sports Act (“the

               12      ASA”). This is because U.S. swimmers are necessarily interacting with USA Swimming—the

               13      NGB for swimming in the United States—and they are complaining about USA Swimming’s

               14      compliance with rules mandated by FINA as the international federation governing Olympic

               15      aquatic sports. See Compl. ¶¶ 8, 9, 63, 67, 91, 95; see also Ex B, FINA Rule GR 4.1. Doing so

               16      runs Plaintiffs headlong into the ASA. The ASA obligates NGBs such as USA Swimming to
               17      follow the “applicable international rules” and “requirements” set forth by the international
               18      federations governing their respective sport, see 36 U.S.C. §§ 220523(a)(7), 220524, and when
               19      antitrust claims implicitly challenge the Congressionally-mandated monolithic control over a sport
               20      by a NGB (here, USA Swimming), courts universally recognize that the conduct is immune from

               21
                       7
                         Plaintiffs will invariably attempt to invoke personal jurisdiction from the alleged “takedown
               22      notice” FINA purportedly sent to YouTube regarding ISL’s promotional videos. Compl. ¶¶ 20,
               23      73. But that fails at the threshold, as courts have universally rejected as unreasonable efforts to
                       confer personal jurisdiction on the basis of the “fortuitous presence of a server.” Rosen v. Terapeak,
               24      Inc., No. 15-cv-00112-MWF (EX), 2015 WL 12724071, at *9 (C.D. Cal. Apr. 28, 2015) (citation
                       omitted). See, e.g., Doe v. Geller, 533 F. Supp. 2d 996, 1007, 1011 (N.D. Cal. 2008) (holding
               25      personal jurisdiction in this District based on a “takedown notice sent to YouTube” would be
                       unreasonable); see also Republic of Kazakhstan v. Ketebaev, No. 17-CV-00246-LHK, 2017 WL
               26      6539897, at *7 (N.D. Cal. Dec. 21, 2017) (location of Google’s servers insufficient to confer
               27      personal jurisdiction under Calder’s effects test); Browne v. McCain, 612 F. Supp. 2d 1118, 1124
                       (C.D. Cal. 2009) (location of Youtube’s servers insufficient to confer personal jurisdiction under
               28      Calder’s effects test ).
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                   1   antitrust scrutiny. See, e.g., Gold Medal LLC, 899 F.3d at 715; JES Props., Inc. v. USA Equestrian,

                   2   Inc., 458 F.3d 1224, 1231–32 (11th Cir. 2006); Behagen v. Amateur Basketball Ass’n, 884 F.2d

                   3   524, 527 (10th Cir. 1989).

                   4                  1.      The Amateur Sports Act Grants Each National Governing Body
                                              Monolithic Control over Its Respective Sport
                   5
                              Congress enacted the Amateur Sports Act (later renamed the Ted Stevens Olympic and
                   6
                       Amateur Sports Act) to “rectify the factional nature” of multiple organizations fighting for control
                   7
                       over Olympic sports in the United States. Behagen, 884 F.2d at 527; Oldfield v. Athletic Congress,
                   8
                       779 F.2d 505, 506 (9th Cir. 1985). The ASA codified the exclusive authority that the U.S. Olympic
                   9
                       Committee (“USOC”) has over U.S. representation at the Olympic Games and other IOC-
               10
                       sanctioned events as well as the USOC’s supervisory authority over the various U.S. national
               11
                       governing bodies for each respective sport.         Behagen, 884 F.2d at 527–28; 36 U.S.C.
               12
                       §§ 220505(c)(4), 220527–28. The ASA grants to USA Swimming “monolithic control” over the
               13
                       sport of swimming, pursuant to which USA Swimming, among other things, must: (i) represent
               14
                       the U.S. in the appropriate international sports federation, i.e., FINA; (ii) follow the “applicable
               15
                       international rules” and “requirements” set forth by the international federation, i.e., FINA; (iii)
               16
                       serve as the coordinating body for swimming in the U.S.; (iv) conduct amateur athletic competition
               17
                       and international athletic competition in the U.S.; (v) recommend individuals and teams to
               18
                       represent the U.S. at both the Olympic Games and non-Olympic international competitions; and
               19
                       (vi) establish eligibility standards for participation in competition in accordance with applicable
               20
                       international (FINA) rules. 36 U.S.C. §§ 220523(a)(1)–(7); 220524.
               21
                                      2.      Implied Antitrust Immunity Under the ASA
               22
                              Because the ASA directs “the monolithic control of an amateur sport by the NGB for that
               23
                       sport and by the appropriate international sports federation of which the NGB is a member,”
               24
                       Behagen, 844 F. 2d at 529, it is a Congressionally-mandated regulatory system that stands directly
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                       at odds with the antitrust laws. Given this “clear repugnancy,” courts have recognized that an
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                       implied antitrust immunity attaches to conduct if subjecting it to antitrust scrutiny would unduly
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                       interfere with the operation of the ASA. See, e.g., Gold Medal LLC, 899 F.3d at 717–18 (holding
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                   1   that that the implied antitrust immunity applied to USA Track & Field’s rule restricting uniform

                   2   advertisements, as “permit[ting] any would-be advertiser to sponsor individual athletes without

                   3   [NGB] approval would unduly interfere with the operation of the ASA” and its grant to NGBs

                   4   complete control over representation of the U.S. in the Olympics); Behagen, 884 F.2d at 529–30

                   5   (amateur eligibility requirements imposed by the American Basketball Association pursuant to the

                   6   rules of its international federation were immune from antitrust scrutiny because the rule fell

                   7   squarely within the “monolithic control [of the ABA] over its particular amateur sport”); JES

                   8   Props., 458 F.3d at 1232 (rule implemented by the U.S. Equestrian Foundation imposing time and

                   9   proximity restrictions on competitions was immune from a Sherman Act § 1 challenge because the

               10      rule fell under the ASA’s grant of control to “minimize conflicts in the scheduling of competitions

               11      and to ‘develop interest and participation throughout the United States’ in their particular sport.”).

               12                      3.      The ASA’s Implied Antitrust Immunity Applies to the Alleged
                                               Conduct by FINA that Impacted Swimming in the U.S.
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                               At its core, Plaintiffs’ challenge is to the IOC-mandated monolithic control that FINA has
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                       over international swimming. See Ex A, IOC Rules 25, 26. The fact that some of the named
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                       plaintiffs are American swimmers who claim injury from the effects of FINA’s conduct on
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                       swimming in the U.S. only underscores how the conduct at issue here falls squarely within the
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                       ASA’s implied antitrust immunity. The U.S.-based effects of FINA’s alleged conduct, and
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                       particularly the effects felt by Plaintiffs Shields and Andrews as U.S. swimmers, were allegedly
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                       carried out by USA Swimming (as the relevant NGB for swimming in the United States) at the
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                       behest of FINA. See Compl. ¶¶ 8, 9, 19, 68, 92, 96. It was USA Swimming—in response to
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                       FINA’s letter that ISL was neither recognized nor affiliated with FINA—that ceased further
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                       discussion with ISL regarding ISL’s plans to host a swim competition in the U.S. Compl. ¶¶ 67;
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                       68. And it was USA Swimming that informed its swimmers “that in light of FINA’s power over
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                       the sport—and particularly access to the Olympic Games—that [it] was in a difficult position” and
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                       “that it would have no choice but to comply with any FINA directive to punish swimmers who
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                       participated in the . . . Turin Event.” Id. ¶ 92.
               27

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                   1          As Plaintiffs acknowledge, USA Swimming reacted in this way because as the relevant

                   2   NGB, it “exist[s] primarily, if not exclusively, to prepare and present swimmers for competition

                   3   in the Olympic Games,” (id. ¶ 88), is “bound by FINA rules,” (id. ¶ 96), and wanted to ensure it

                   4   would not be putting “U.S. swimmers [like Plaintiff Shields and Andrew] ‘at risk,’” (id. ¶ 68). All

                   5   of this conduct categorically falls within the ASA’s grant of monolithic control to USA Swimming

                   6   over swimming in the U.S., and particularly, the unilateral authority to establish rules governing

                   7   the eligibility of its athletes and the express requirement that it follow FINA’s rules. See 36 U.S.C.

                   8   § 220523. It is precisely what the ASA places off limits from antitrust scrutiny. Applying the

                   9   antitrust laws here would unquestionably and “unduly interfere with the operation of the ASA.”

               10      Gold Medal LLC, 899 F.3d at 717; see also Behagen, 844 F.2d at 529.

               11             As we explained in FINA’s motion to dismiss ISL’s complaint, the ASA’s implied antitrust

               12      immunity is no less applicable because the defendant here is FINA and not USA Swimming. The

               13      implied antitrust immunity does not just cover conduct by NGBs; it attaches to conduct that, if

               14      scrutinized under the antitrust laws, would interfere with the operation of the ASA. Gold Medal

               15      LLC, 899 F.3d at 717; Behagen, 844 F.2d at 529. Plaintiffs’ complaint alleges a theory of harm

               16      stemming from actions taken by USA Swimming—namely, that USA Swimming followed FINA

               17      directives and told its swimmers to refrain from participating in ISL-sponsored events, such as the

               18      Turin Event, or risk sanctions. This is precisely the type of conduct that the Ninth Circuit and

               19      other circuit courts have repeatedly held is impliedly immune from antitrust liability under the

               20      ASA. Like ISL, Plaintiffs cannot bypass that immunity by deliberating asserting claims against

               21      only FINA and not the relevant NGB. The presence of U.S. swimmers in this action only

               22      crystallizes the fact that any alleged conduct by FINA bearing effects on swimming (and

               23      swimmers) in the U.S. falls squarely within the monolithic control that the international federations

               24      and the relevant NGBs have over their respective sport. FINA’s alleged conduct is therefore

               25      exempt from the antitrust laws under the ASA.

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                   1          C.      Plaintiffs’ Claims Are Barred by the Foreign Trade Antitrust Improvements
                                      Act
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                              For the same reasons underlying the ISL case, the Foreign Trade Antitrust Improvements
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                       Act (“FTAIA”), 15 U.S.C. § 6a, presents an identical hurdle to Plaintiffs’ claims. This Complaint
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                       (like ISL’s) expressly challenges foreign conduct undertaken by a foreign entity with little, if any,
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                       resultant effect on U.S. commerce. It is the kind of foreign conduct that the FTAIA places beyond
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                       the reach of the Sherman Act.
                   7
                              Under the FTAIA, to bring challenged conduct within the purview of the Sherman Act, a
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                       plaintiff must allege that an overseas defendant’s conduct involved “import trade or commerce”
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                       (and thus is subject to the “import commerce exclusion”) or otherwise bore a “direct, substantial,
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                       and reasonably foreseeable effect” on U.S. commerce (in which case it is subject to the “domestic
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                       effects exception”). United States v. Hsiung, 778 F.3d 738, 755 (9th Cir. 2015); see also F.
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                       Hoffman-La Roche Ltd. v. Empagran S.A., 542 U.S. 155, 162 (2004).
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                              The inclusion of U.S.-based plaintiffs in this case does nothing to change the underlying
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                       failure of the Complaint to plead an adequate basis to lift the FTAIA’s bar on an extraterritorial
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                       application of the Sherman Act. Indeed, the presence of some U.S. plaintiffs here just makes this
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                       case like the many others in which a U.S. plaintiff seeks, through the exceptions of the FTAIA, to
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                       apply the U.S. antitrust laws to the conduct of a foreign defendant. That some or all of the plaintiffs
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                       are domiciled in the U.S. does not matter; they must nevertheless plead the requisite elements of
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                       the FTAIA for the extraterritorial application of the Sherman Act to be proper.
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                              Because Plaintiffs’ theory of the case admittedly has nothing to do with “import trade or
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                       commerce,” the only relevant inquiry is whether they have adequately alleged conduct by FINA
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                       satisfying the domestic effects exception. That requires FINA’s alleged conduct to have both a
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                       “direct, substantial, and reasonably foreseeable effect” on U.S. commerce and also give rise to a
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                       claim under the Sherman Act. 15 U.S.C. § 6a. Here, the U.S.-based effects affecting Plaintiffs
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                       are indirect at best. Any effects of FINA’s conduct upon U.S.-based swimmers are entirely
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                       derivative of either (i) the actions of USA Swimming in response to FINA’s rules regarding
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                       relations with ISL or (ii) any alleged harm to ISL resulting from FINA’s boycott of ISL’s attempts
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                   1   to sponsor a U.S.-based top-tier international swimming competition. Any domestic effects felt

                   2   by American swimmers are thus several degrees removed from FINA’s alleged conduct, and

                   3   depend on the kind of “uncertain intervening developments” that preclude such effects from being

                   4   sufficiently “direct” to satisfy the FTAIA’s domestic effects exception. United States v. LSL

                   5   Biotechnologies, 379 F.3d 672, 681 (9th Cir. 2004).

                   6          Again, like ISL’s claims, the alleged conduct by FINA underlying Plaintiffs claims was

                   7   not directed in any way at the U.S., but rather involved the implementation and enforcement of

                   8   certain FINA rules governing the relations of all 209 of its member federations, see Ex. B, which

                   9   resulted in the alleged boycott of ISL-sponsored international swimming competitions that may be

               10      held anywhere in the world. The presence of some U.S.-based plaintiffs who allegedly felt the

               11      “ripple effects” of FINA’s alleged foreign conduct does not render those effects sufficiently

               12      “direct” to permit an extraterritorial application of the Sherman Act. See Hsiung, 778 F.3d at 759–

               13      60.

               14             Separately, Plaintiffs cannot satisfy the second requirement of the FTAIA’s domestic

               15      effects requirement—that the alleged conduct “give rise” to a claim under the Sherman Act. See

               16      15 U.S.C. § 6a. Because any alleged effect on U.S. swimmers stemming from FINA’s alleged

               17      conduct was either (i) effectuated through USA Swimming and immunized from antitrust scrutiny

               18      pursuant to the ASA or (ii) otherwise derivative of the alleged injury to ISL, FINA’s conduct does

               19      not “give rise” to a Sherman Act claim. See Motorola Mobility LLC v. AU Optronics Corp., 775

               20      F.3d 816, 818 (7th Cir. 2015) (the “gives rise” requirement “determines who may bring suit based

               21      on [the effect]”); see also In re Capacitors Antitrust Litig., No. 14-cv-03264-JD, 2018 WL

               22      4558265, at *6 (N.D. Cal. 2018) (under the “gives rise” requirement of the FTAIA’s domestic

               23      effects exception, the impact of the defendant’s conduct in the U.S. must be one that would allow

               24      the plaintiff to sue under the Sherman Act).

               25             Like ISL, Plaintiffs’ Complaint is about foreign conduct by a Swiss entity that exhibited at

               26      most, indirect domestic effects. The fact that those effects were allegedly felt by some U.S.-based

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                   1   swimmers does not render them any more direct, and is therefore insufficient to circumvent the

                   2   FTAIA’s bar on an exterritorial application of the Sherman Act to FINA’s conduct.8

                   3
                                D.     Plaintiffs’ Section 1 Claim Fails Because FINA and its Member Federations
                   4                   Have a Complete Unity of Interest

                   5            Finally, Plaintiffs’ Sherman Act § 1 claim shares the same fatal flaw underlying the

                   6   identical claim asserted by ISL: FINA and its member national federations share a complete unity

                   7   of economic interest and are legally incapable of conspiring for the purposes of Section 1.

                   8            Under the Supreme Court’s decision in Copperweld Corp. v. Independent Tube Corp., 467

                   9   U.S. 752, 771 (1984), courts have held that separate entities that share a common economic interest

               10      and non-divergent interests are legally incapable of conspiring to violation Section 1. See Jack

               11      Russell Terrier Network of N. Cal., 407 F.3d at 1034 (summarizing authorities). The inquiry of

               12      whether separate entities have the sort of unified interests that legally preclude them from

               13      conspiring under Section 1 is a “functional” one. Id. “The crucial question is whether the entities

               14      alleged to have conspired maintain ‘economic unity,’ and whether the entities were either actual

               15      or potential competitors.” Id. (citing Freeman v. San Diego Ass’n of Realtors, 322 F.3d 1133,

               16      1148–49 (9th Cir. 2003)).

               17               Here, Plaintiffs’ Section 1 claim, which is premised on the allegation that FINA and its

               18      member federations entered into illegal “horizontal agreement[s],” fails because FINA and its

               19      member federations are not distinct entities pursuing different economic goals. As Plaintiffs

               20      themselves allege, (i) the Olympics is the “sole reason” for the existence of FINA or its member

               21      federations, (id. ¶ 41); (ii) FINA “governs Olympic swimming,” (id. ¶ 32); and (iii) that the

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                       8
                         Plaintiffs’ ambiguous state law claim for tortious interference also fails. Because the FTAIA is
               23      an expression of Congress’s power to regulate foreign commerce, giving a state common law claim
                       broader extraterritorial effect would run afoul the foreign affairs doctrine and principles of
               24      international comity. See In re Intel Corp. Microprocessor Antitrust Litig., 476 F. Supp. 2d 452,
                       457 (D. Del. 2007) (California law cannot apply “beyond the boundaries set by the FTAIA,” as
               25      “‘[f]oreign commerce is pre-eminently a matter of national concern,’ and therefore, it is important
                       for the Federal Government to speak with a single, unified voice.”); In re Static Random Access
               26      Memory (SRAM) Antitrust Litig., No. 07-md-01819 CW, 2010 WL 5477313, at *4 (N.D. Cal. Dec.
                       31, 2010) (same). Moreover, since all Federal claims should be dismissed, this Court should
               27      exercise its discretion and dismiss the state law claim. See Tanaka v. Univ. of S. Cal., 252 F.3d
                       1059, 1065 (9th Cir. 2001) (affirming dismissal of pendant state law claims upon dismissal of
               28      federal antitrust claims); 28 U.S.C. § 1367(c)(3).
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                   1   member federations “exist primarily, if not exclusively, to prepare and present swimmers for

                   2   competition in the Olympic Games,” (id. ¶ 88). In other words, Plaintiffs allege that without the

                   3   Olympic Games, there would be no FINA, and no member federations. By their very own

                   4   allegations, Plaintiffs repeatedly and expressly recognize a unity of interest between FINA and its

                   5   member federations—one related to the promotion and organization of top-tier international and

                   6   Olympic swimming competition.

                   7            Indeed, it is this very monolithic structure that Plaintiffs complain of: FINA has allegedly

                   8   “leveraged its overwhelming and absolute power,” divined from its control over Olympic

                   9   swimming and through its member federations to boycott ISL’s attempts to establish a competing

               10      top-tier international non-Olympic swimming league, (Compl. ¶ 15), and “prevent swimmers from

               11      effectively selling their services to entities other than FINA.” Id. ¶ 7. The anticompetitive theory

               12      that Plaintiffs advance is one that rests on the IOC-mandated structure between FINA and its

               13      member federations—a structure and relationship inimical to FINA and its members being

               14      “economically independent.” Plaintiffs’ own theory of the case therefore dooms their ability to

               15      allege a claim under Section 1. See Jack Russell Terrier Network of N. Cal., 407 F.3d at 1035

               16      (allegations about a conspiracy between a national dog breed club and its regional affiliates to

               17      boycott a competing organization failed under Section 1 because the national club and its regional

               18      affiliates shared a unity of economic interest, which were “the current and future value of the . . .

               19      breed, as determined by the [club’s] breed standards”).9

               20

               21

               22      9
                         Even if, arguendo, FINA and its members are independent economic actors, Plaintiffs plead no
                       facts beyond the actions of a sports association “monitor[ing] the everyday administration of [its]
               23      sport.” Compl. ¶ 31. It cannot be true that FINA and its member organizations enter a “horizontal
                       agreement” simply by abiding by the regulations set by FINA, as the conduct of an association
               24      does not automatically constitute a “joint action of the association’s members.” AD/SAT, Div. of
                       Skylight, Inc. v. Associated Press, 181 F.3d 216, 233 (2d Cir. 1999). Plaintiffs must plead that
               25      “association members, in their individual capacities, consciously committed themselves to a
                       common scheme designed to achieve an unlawful objective,” id. at 243, as sports associations, like
               26      trade associations, are not by their nature “walking conspirac[ies].” Consol. Metal Prods., Inc. v.
                       Am. Petroleum Inst., 846 F.2d 284, 293–94 (5th Cir. 1988). Beyond conclusory labels, the
               27      Complaint contains no such factual allegations.
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                   1   IV.    CONCLUSION

                   2          For the foregoing reasons, FINA respectfully requests that the Court dismiss Plaintiffs’

                   3   Complaint in full.

                   4   Dated: March 1, 2019                           Respectfully submitted,

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                                                                        Daniel M. Wall
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                   7

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               10                                                          Fédération Internationale de Natation

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